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 7

 8                           UNITED STATES DISTRICT COURT
 9                         CENTRAL DISTRICT OF CALIFORNIA
10

11                                            Case No.
     JAMES RUTHERFORD, an
12                                            Complaint For Damages And
13   individual,                              Injunctive Relief For:

14                     Plaintiff,              1. VIOLATIONS OF THE
15                                                AMERICANS WITH DISABILITIES
     v.                                           ACT OF 1990, 42 U.S.C. §12181 et
16                                                seq. as amended by the ADA
17                                                Amendments Act of 2008 (P.L. 110-
     CENTRAL PACIFIC
                                                  325).
18   PROPERTIES, LLC, a California
     limited liability company; and DOES
19                                             2. VIOLATIONS OF THE UNRUH
     1-10, inclusive,
                                                  CIVIL RIGHTS ACT, CALIFORNIA
20                                                CIVIL CODE § 51 et seq.
21
                      Defendants.

22

23         Plaintiff, JAMES RUTHERFORD, an individual, (“Plaintiff”), complains of
24   Defendants CENTRAL PACIFIC PROPERTIES, LLC, a California limited liability
25   company; and Does 1-10 (“Defendants”) and alleges as follows:
26                                          PARTIES
27         1.      Plaintiff is substantially limited in performing one or more major life
28   activities, including but not limited to: walking, standing, ambulating, sitting; in

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                                           COMPLAINT
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 1   addition to twisting, turning and grasping objects. As a result of these disabilities,
 2   Plaintiff relies upon mobility devices, including at times a wheelchair, to ambulate.
 3   With such disabilities, Plaintiff qualifies as a member of a protected class under the
 4   Americans with Disabilities Act, 42 U.S.C. §12102(2) as amended by the ADA
 5   Amendments Act of 2008 (P.L. 110-325) (“ADA”) and the regulations
 6   implementing the ADA set forth at 28 C.F.R. §§ 36.101 et seq. At the time of
 7   Plaintiff’s visits to Defendants' facility and prior to instituting this action, Plaintiff
 8   suffered from a “qualified disability” under the ADA, including those set forth in
 9   this paragraph. Plaintiff is also the holder of a Disabled Person Parking Placard.
10          2.     Plaintiff is informed and believes and thereon alleges that Defendant
11   CENTRAL PACIFIC PROPERTIES, LLC, a California limited liability company,
12   owned the property located at 561 N Central Ave., Upland, CA 91786 (“Property”)
13   on or around September 12, 2020 upon which On Cloud Nine Day Spa (“Business”)
14   is located.
15          3.     Plaintiff is informed and believes and thereon alleges that Defendant
16   CENTRAL PACIFIC PROPERTIES, LLC, a California limited liability company,
17   currently owns the Property.
18          4.     The Business is a day spa open to the public, which is a “place of public
19   accommodation” as that term is defined by 42 U.S.C. § 12181(7).
20          5.     Plaintiff does not know the true name of DOE Defendants, that may be
21   related to the Business and/or Property. Plaintiff is informed and believes that each
22   of the Defendants herein, including Does 1 through 10, inclusive, is responsible in
23   some capacity for the events herein alleged. Plaintiff will seek leave to amend when
24   the true names, capacities, connections, and responsibilities of the Defendants and
25   Does 1 through 10, inclusive, are ascertained.
26                               JURISDICTION AND VENUE
27          6.     This Court has subject matter jurisdiction over this action pursuant
28   to 28 U.S.C. § 1331 and § 1343(a)(3) & (a)(4) for violations of the ADA.
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                                             COMPLAINT
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 1          7.     This court has supplemental jurisdiction over Plaintiff’s non-federal
 2   claims pursuant to 28 U.S.C. § 1367, because Plaintiff’s Unruh Civil Rights Act,
 3   California Civil Code § 51 et seq., (“UCRA”) claims are so related to Plaintiff’s
 4   federal ADA claims in that they have the same nucleus of operative facts and
 5   arising out of the same transactions, they form part of the same case or controversy
 6   under Article III of the United States Constitution.
 7          8.     Venue is proper in this court pursuant to 28 U.S.C. §1391 because the
 8   real property which is the subject of this action is located in this district and because
 9   Plaintiff's causes of action arose in this district.
10                                FACTUAL ALLEGATIONS
11          9.     Plaintiff went to the Business on or about September 12, 2020 for the
12   dual purpose of inquiring about spa services and to confirm that this public place of
13   accommodation is accessible to persons with disabilities within the meaning federal
14   and state law.
15          10.    Unfortunately, although parking spaces were one of the facilities
16   reserved for patrons, there were no designated parking spaces available for persons
17   with disabilities that complied with the 2010 Americans with Disabilities Act
18   Accessibility Guidelines (“ADAAG”) on September 12, 2020.
19          11.    At that time, instead of having architectural barrier free facilities for
20   patrons with disabilities, Defendants have: an access aisle at the accessible parking
21   space that is ramped up to connect the walkway to the street level creating slopes
22   and cross slopes exceeding 1:48 (Access aisles shall be at the same level as the
23   parking spaces they serve. Changes in level are not permitted. EXCEPTION: Slopes
24   not steeper than 1:48 shall be permitted per Section 502.4); a curb ramp that projects
25   into the accessible parking space access aisle in violation of Section 406.5 (which
26   requires that curb ramps and the flared sides of curb ramps shall be located so that
27   they do not project into vehicular traffic lanes, parking spaces, or parking access
28   aisles); the slope of the curb ramp that flares at the curb ramp connecting the
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                                             COMPLAINT
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 1   accessible parking spaces to the accessible route exceeds 10% in violation of Section
 2   406.3 (which requires that the slope does not exceed 10%); accessible parking
 3   spaces that are not located on the shortest accessible route to the entrance per
 4   Section 208.3.1 (Parking spaces complying with 502 that serve a particular building
 5   or facility shall be located on the shortest accessible route from parking to an
 6   entrance complying with 206.4. Where parking serves more than one accessible
 7   entrance, parking spaces complying with 502 shall be dispersed and located on the
 8   shortest accessible route to the accessible entrances); and, no accessible routes
 9   connecting the parking to the main entrance or elements within the facility as
10   required by Section 206.2.2 (which requires that at least one accessible route shall
11   connect accessible buildings, accessible facilities, accessible elements, and
12   accessible spaces that are on the same site, and 206.1 requiring access to the site
13   arrival point (main entrance) from the public street).
14         12.    Parking spaces are one of the facilities, privileges, and advantages
15   reserved by Defendants to persons at the Property serving the Business.
16         13.    Because Defendant CENTRAL PACIFIC PROPERTIES, LLC, a
17   California limited liability company, owns the Property, which is a place of public
18   accommodation, they are responsible for the violations of the ADA that exist in the
19   parking area and accessible routes that connect to the facility’s entrance that serve
20   customers to the Business.
21         14.    Subject to the reservation of rights to assert further violations of law
22   after a site inspection found infra, Plaintiff asserts there are additional ADA
23   violations which affect him personally.
24         15.    Plaintiff is informed and believes and thereon alleges Defendants had
25   no policy or plan in place to make sure that there was compliant accessible parking
26   reserved for persons with disabilities prior to September 12, 2020.
27         16.    Plaintiff is informed and believes and thereon alleges Defendants have
28   no policy or plan in place to make sure that the designated disabled parking for
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                                           COMPLAINT
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 1   persons with disabilities comport with the ADAAG.
 2          17.   Plaintiff personally encountered these barriers. The presence of these
 3   barriers related to Plaintiff’s disability denies Plaintiff his right to enjoy accessible
 4   conditions at public place of accommodation and invades legally cognizable
 5   interests created under the ADA.
 6          18.   The conditions identified supra are necessarily related to Plaintiff’s
 7   legally recognized disability in that Plaintiff is substantially limited in the major life
 8   activities of walking, standing, ambulating, sitting, in addition to twisting, turning
 9   and grasping objects; Plaintiff is the holder of a disabled parking placard; and
10   because the enumerated conditions relate to the use of the accessible parking, relate
11   to the slope and condition of the accessible parking and accessible route to the
12   accessible entrance, and relate to the proximity of the accessible parking to the
13   accessible entrance.
14          19.   As an individual with a mobility disability who at times relies upon a
15   wheelchair or other mobility devices, Plaintiff has a keen interest in whether public
16   accommodations have architectural barriers that impede full accessibility to those
17   accommodations by individuals with mobility impairments.
18          20.   Plaintiff is being deterred from patronizing the Business and its
19   accommodations on particular occasions, but intends to return to the Business for the
20   dual purpose of availing himself of the goods and services offered to the public and
21   to ensure that the Business ceases evading its responsibilities under federal and state
22   law.
23          21.   Upon being informed that the public place of accommodation has
24   become fully and equally accessible, he will return within 45 days as a “tester” for
25   the purpose of confirming their accessibility. Civil Rights Educ. and Enforcement
26   Center v. Hospitality Props. Trust, 867 F.3d 1093, 1096 (9th Cir. 2017).
27          22.   As a result of his difficulty experienced because of the inaccessible
28   condition of the facilities of the Business, Plaintiff was denied full and equal access
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                                            COMPLAINT
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 1   to the Business and Property.
 2          23.      The Defendants have failed to maintain in working and useable
 3   conditions those features required to provide ready access to persons with
 4   disabilities.
 5          24.      The U.S. Department of Justice has emphasized the importance of
 6   enforcing laws that prohibit unlawful discriminatory behavior, especially in the era
 7   of the COVID-19 emergency. See Statement by Assistant Attorney General for Civil
 8   Rights Eric S. Dreiband Protecting Civil Rights While Responding to the
 9   Coronavirus Disease 2019 (COVID-19) found at
10   https://www.ada.gov/aag_covid_statement.pdf.
11          25.      The violations identified above are easily removed without much
12   difficulty or expense. They are the types of barriers identified by the Department of
13   Justice as presumably readily achievable to remove and, in fact, these barriers are
14   readily achievable to remove. Moreover, there are numerous alternative
15   accommodations that could be made to provide a greater level of access if complete
16   removal were not achievable.
17          26.      Given the obvious and blatant violation alleged hereinabove, Plaintiff
18   alleges, on information and belief, that there are other violations and barriers in the
19   site that relate to his disability. Plaintiff will amend the complaint, to provide proper
20   notice regarding the scope of this lawsuit, once he conducts a site inspection.
21   However, the Defendants are on notice that the Plaintiff seeks to have all barriers
22   related to his disability remedied. See Doran v. 7-11, 524 F.3d 1034 (9th Cir. 2008)
23   (holding that once a plaintiff encounters one barrier at a site, the plaintiff can sue to
24   have all barriers that relate to his disability removed regardless of whether he
25   personally encountered them).
26          27.      Without injunctive relief, Plaintiff will continue to be unable to fully
27   access Defendants’ facilities in violation of Plaintiff’s rights under the ADA.
28   ////
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                                              COMPLAINT
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 1                               FIRST CAUSE OF ACTION
 2    VIOLATIONS OF THE AMERICANS WITH DISABILITIES ACT OF 1990,
 3      42 U.S.C. § 12181 et seq. as amended by the ADA Amendments Act of 2008
 4                                        (P.L. 110-325)
 5         28.    Plaintiff re-alleges and incorporates by reference all paragraphs alleged
 6   above and each and every other paragraph in this Complaint necessary or helpful to
 7   state this cause of action as though fully set forth herein.
 8         29.    Under the ADA, it is an act of discrimination to fail to ensure that the
 9   privileges, advantages, accommodations, facilities, goods, and services of any place
10   of public accommodation are offered on a full and equal basis by anyone who owns,
11   leases, or operates a place of public accommodation. See 42 U.S.C. § 12182(a).
12   Discrimination is defined, inter alia, as follows:
13                a.     A failure to make reasonable modifications in policies, practices,
14                       or procedures, when such modifications are necessary to afford
15                       goods, services, facilities, privileges, advantages, or
16                       accommodations to individuals with disabilities, unless the
17                       accommodation would work a fundamental alteration of those
18                       services and facilities. 42 U.S.C. § 12182(b)(2)(A)(ii).
19                b.     A failure to remove architectural barriers where such removal is
20                       readily achievable. 42 U.S.C. § 12182(b)(2)(A)(iv). Barriers are
21                       defined by reference to the ADAAG, found at 28 C.F.R., Part 36,
22                       Appendix "D".
23                c.     A failure to make alterations in such a manner that, to the
24                       maximum extent feasible, the altered portions of the facility are
25                       readily accessible to and usable by individuals with disabilities,
26                       including individuals who use wheelchairs, or to ensure that, to
27                       the maximum extent feasible, the path of travel to the altered area
28                       and the bathrooms, telephones, and drinking fountains serving
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 1                         the area, are readily accessible to and usable by individuals with
 2                         disabilities. 42 U.S.C. § 12183(a)(2).
 3         30.       Any business that provides parking spaces must provide accessible
 4   parking spaces. 2010 Standards § 208. Under the 2010 Standards, access aisles
 5   shall be at the same level as the parking spaces they serve. Changes in level are not
 6   permitted. 2010 Standards § 502.4. "Access aisles are required to be nearly level in
 7   all directions to provide a surface for wheelchair transfer to and from vehicles." 2010
 8   Standards § 502.4 Advisory. Here the failure to provide a level access aisle in the
 9   designated disabled parking space is a violation of the law and excess slope angle in
10   the access pathway is a violation of the law.
11         31.       A public accommodation must maintain in operable working condition
12   those features of its facilities and equipment that are required to be readily accessible
13   to and usable by persons with disabilities. 28 C.F.R. § 36.211(a).
14         32.       Here, the failure to ensure that accessible facilities were available and
15   ready to be used by Plaintiff is a violation of law.
16         33.       Given its location and options, Plaintiff will continue to desire to
17   patronize the Business but he has been and will continue to be discriminated against
18   due to lack of accessible facilities and, therefore, seeks injunctive relief to remove
19   the barriers.
20                                SECOND CAUSE OF ACTION
21       VIOLATION OF THE UCRA, CALIFORNIA CIVIL CODE § 51 et seq.
22         34.       Plaintiff re-alleges and incorporates by reference all paragraphs alleged
23   above and each and every other paragraph in this Complaint necessary or helpful to
24   state this cause of action as though fully set forth herein.
25         35.       California Civil Code § 51 et seq. guarantees equal access for people
26   with disabilities to the accommodations, advantages, facilities, privileges, and
27   services of all business establishments of any kind whatsoever. Defendants are
28   systematically violating the UCRA, Civil Code § 51 et seq.
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 1          36.   Because Defendants violate Plaintiff’s rights under the ADA,
 2   Defendants also violated the UCRA and are liable for damages. (Civ. Code § 51(f),
 3   52(a).) These violations are ongoing.
 4          37.   Plaintiff is informed and believes and thereon alleges that Defendants’
 5   actions constitute discrimination against Plaintiff on the basis of a disability, in
 6   violation of the UCRA, Civil Code § 51 et seq., because Defendants have been
 7   previously put on actual or constructive notice that the Business is inaccessible to
 8   Plaintiff. Despite this knowledge, Defendants maintain its premises in an
 9   inaccessible form, and Defendants have failed to take actions to correct these
10   barriers.
11                                          PRAYER
12    WHEREFORE, Plaintiff prays that this court award damages provide relief as
13   follows:
14          1.    A preliminary and permanent injunction enjoining Defendants from
15   further violations of the ADA, 42 U.S.C. § 12181 et seq. as amended by the ADA
16   Amendments Act of 2008 (P.L. 110-325), and UCRA, Civil Code § 51 et seq. with
17   respect to its operation of the Business and Property; Note: Plaintiff is not invoking
18   section 55, et seq, of the California Civil Code and is not seeking injunctive relief
19   under the Disabled Persons Act (Cal. C.C. §54) at all.
20          2.    An award of actual damages and statutory damages of not less than
21   $4,000 per violation pursuant to § 52(a) of the California Civil Code;
22          3.    An additional award of $4,000.00 as deterrence damages for each
23   violation pursuant to Johnson v. Guedoir, 218 F. Supp. 3d 1096; 2016 U.S. Dist.
24   LEXIS 150740 (USDC Cal, E.D. 2016); and,
25          4.    For reasonable attorneys' fees, litigation expenses, and costs of suit,
26   pursuant to 42 U.S.C. § 12205; California Civil Code § 52.
27   ////
28   ////
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                                            COMPLAINT
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 1                                DEMAND FOR JURY TRIAL
 2          Plaintiff hereby respectfully requests a trial by jury on all appropriate issues
 3    raised in this Complaint.
 4

 5    Dated: December 10, 2020               MANNING LAW, APC
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 7                                     By: /s/ Joseph R. Manning Jr., Esq.
                                          Joseph R. Manning Jr., Esq.
 8                                        Attorney for Plaintiff
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